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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

                                                )
RENE JUNK, as Parent and Next Best              )
Friend of T.J., a Minor,                        )
                                                )
      Plaintiff,                                )
                                                )
vs.                                             )               CASE NO.: 4:05-CV-608
                                                )
TERMINIX INTERNATIONAL                          )
COMPANY LIMITED PARTNERSHIP;                    )
THE DOW CHEMICAL COMPANY;                       )
DOW AGROSCIENCES LLC; HAROLD                    )
OBRECHT, an individual; AND JIM                 )
BRENEMAN, an individual,                        )
                                                )
      Defendants.                               )


                            MOTION FOR SUMMARY JUDGMENT

       NOW COMES the defendant, THE TERMINIX INTERNATIONAL COMPANY, LP

(hereafter “Terminix”), by and through the undersigned counsel, and pursuant to Rule 56 of the

Federal Rules of Civil Procedure, move this Court for entry of a final and appealable order of

summary judgment in favor of Terminix and against the plaintiff, RENE JUNK, as Parent and

Next Friend of T.J., a Minor. In support of this Motion, Terminix states:

       1.          The plaintiff has filed a Second Amended Complaint against Terminix, THE

DOW CHEMICAL COMPANY, and DOW AGROSCIENCES, LLC, seeking recovery for

personal injuries allegedly sustained by T.J. as a result of exposure to a pesticide named Dursban

L.O. 0.5%. The product, which was manufactured by the Dow defendants, was applied at the

plaintiff’s home in Knoxville, Iowa on four occasions between March 27, 1992 and T.J.’s birth

on August 28, 1992, and on several occasions after his birth.




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        2.      The plaintiff’s Second Amended Complaint seeks recovery against Terminix

under theories of negligence and strict product liability. 1

        3.      There is no genuine issue as to any material fact and Terminix is entitled to

judgment in its favor as a matter of law. First, the plaintiff has produced no competent evidence

establishing that T.J.’s injuries are causally related to exposure to the Dursban pesticide. The

opinions of the plaintiff’s two experts, Dr. Mohammed Abou-Donia and Dr. Cynthia Bearer, lack

the scientific reliability required under Rule 702 and Daubert v. Merrill Dow Pharmaceuticals,

and accordingly, both experts’ opinions should be stricken. When the unscientific and unreliable

opinions of Drs. Abou-Donia and Bearer are disregarded, plaintiff has no evidence whatsoever

establishing causation, thereby entitling Terminix to summary judgment as to all claims.

        4.      Even if the plaintiff could somehow establish causation, summary judgment is

warranted as to the claims against Terminix because there is no evidence to support the

plaintiff’s claims of negligence or strict liability against Terminix.

        5.      It is undisputed that Terminix did not manufacture or sell the Dursban product

and that Terminix properly applied the product at the plaintiff’s home in accordance with the

EPA-approved label.         Plaintiff has produced no evidence that the product contained a

manufacturing or design defect.           Lastly, plaintiff’s allegations against Te rminix would

necessarily result in the imposition of different or additional product labeling requirements and

therefore, plaintiff’s claims are preempted under the Federal Insecticide, Fungicide and

Rodenticide Act (FIFRA), 7 U.S.C. §136, et seq.




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         The Second Amended Complaint also named Terminix employee Jim Breneman, but all claims against Mr.
Breneman were dismissed on October 3, 2006. (See Court Order filed 11-3-06, Doc. No. 65). Also, in the same
order, the Court dismissed Counts II, III, IV and V of the Second Amended Complaint as to Terminix. (Id.).
Accordingly, the only remaining claims against Terminix are in Count VII, which pleads negligence and strict
products liability.

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        6.      Terminix incorporates by reference its Statement of Material Facts and

Memorandum of Law in Support of this Motion for Summary Judgment. Terminix also

incorporates by reference its Motion to Strike the Plaintiff’s Experts, which is filed concurrently

with this Motion.

        WHEREFORE, the defendant, THE TERMINIX INTERNATIONAL COMPANY, LP,

requests that this Court enter a final and appealable order of summary judgment in favor of

Terminix and against the plaintiff, pursuant to Rule 56 of the Federal Rules of Civil Procedure,

and for all other just and appropriate relief.

                                         Respectfully submitted,

                                         GAUDINEER, COMITO & GEORGE, L.L.P.

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                               CERTIFICATE OF SERVICE

        I hereby certify that on May 12, 2008, Defendant’s Motion for Summary Judgment was
filed electronically with the Clerk of Court to be served by operation of the Court’s electronic
filing system upon the following:

                                                   /s/ Kent A. Gummert


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